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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 STATE OF ILLINOIS,

                   Plaintiff,
                                                   Case No. 17-cv-6260
             v.
                                                   Hon. Rebecca R. Pallmeyer
 CITY OF CHICAGO,

                   Defendant.


                      NOTICE OF THE COALITION’S INTENT TO
                      INITIATE ENFORCEMENT PROCEEDINGS

       The Coalition provides the Court with this notice of its intent to initiate enforcement

proceedings, pursuant to ¶ 709 of the Consent Decree, with respect to the Chicago Police

Department’s (“CPD”) policy suite titled “Police Encounters and the Fourth Amendment” (“Stops

Suite”) which became final on December 31, 2024. See Police Encounters and the Fourth

Amendment, available at https://directives.chicagopolice.org/#directive/public/7077 (last visited

2/6/25).

       The Coalition provided the attached notice of enforcement to the City of Chicago and CPD

on January 24, 2025. Ex. 1. As stated in that notice, the Stops Suite violates the law and the

Consent Decree in two ways:

   1. The Stops Suite impermissibly allows officers to use race, ethnicity, and other protected

       characteristics when making decisions on whether to stop, frisk or search people, in

       violation of the U.S. Constitution’s Equal Protection Clause and the Illinois Civil Rights

       Act, as well as ¶¶ 55-56 of the Consent Decree.
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   2. The Stops Suite permits officers to stop and search people based on the odor of raw

       cannabis, in direct contravention of ¶ 806(i) of the Consent Decree.

       Should the City refuse to rectify the legal deficiencies in the Stops Suite identified in the

Coalition’s notice (Ex. 1), the Coalition will file an enforcement action on April 24, 2025.

DATED: February 7, 2025                       Respectfully Submitted,

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